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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

 CRIMINAL ACTION NO. 12-14-DLB-CJS-3
 CIVIL ACTION NO. 16-11-DLB-CJS

 UNITES STATES OF AMERICA                                                        PLAINTIFF


 v.              ORDER ADOPTING REPORT AND RECOMMENDATION


 CLARA RODRIGUEZ-IZNAGA                                                        DEFENDANT

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        This matter is before the Court upon the March 31, 2020 Report and

 Recommendation (“R&R”) of Magistrate Judge Candace J. Smith (Doc. # 227), wherein

 she recommends that Defendant’s pro se Motion for Relief from Judgment (Doc. # 226)

 be denied. Defendant has filed Objections (Doc. # 230), to which the United States has

 responded (Doc. # 234). Defendant has filed a Reply (Doc. # 238). Accordingly, the R&R

 is now ripe for the Court’s review. For the reasons set forth below, Defendant’s Objections

 are overruled and the R&R is adopted as the findings of fact and conclusions of law of

 the Court.

        Rodriguez-Iznaga was convicted of drug trafficking and money laundering charges

 and sentenced to 240 months in prison.1 (Doc. # 139). Defendant’s conviction and

 sentence were affirmed on direct appeal. See United States v. Rodriguez-Iznaga, 575 F.

 App’x 583, 583 (6th Cir. 2014). On January 28, 2016, Defendant filed a pro se Motion to

 Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. (Doc. # 172). In



 1      Defendant’s sentence was later reduced to 235 months in prison. (Doc. # 184).

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 a Report and Recommendation issued on November 26, 2018, the Magistrate Judge

 recommended denying Defendant’s Motion to Vacate. (Doc. # 210). On December 18,

 2018, this Court adopted the Magistrate Judge’s Report and Recommendation and

 denied the Motion. (Doc. # 211). In doing so, the Court noted that Rodriguez-Iznaga had

 failed to file objections to the Report and Recommendation and that the 14-day period for

 doing so had expired. (Id.). Then, on January 9, 2019, Defendant appealed the denial

 of her Motion to Vacate. (Doc. # 215). In her brief to the Sixth Circuit supporting the

 issuance of a Certificate of Appealability (COA), Rodriguez-Iznaga asserted that she did

 not respond to the Report and Recommendation because she had never received it.

 Rodriguez-Iznaga v. United States, No. 19-5053, ECF No. 15 at 4. Rodriguez-Iznaga

 conceded, however, that “it was her responsibility to be alert to the fact that [the Report]

 would be coming and take steps to contact the Clerk of Court to determine the status of

 the Report.” Id.

        The Sixth Circuit declined to grant a COA, citing Defendant’s failure to object to

 the Report and Recommendation. (Doc. # 223). In an opinion dated May 28, 2019, the

 court noted that “[a] party who does not file timely objections to a magistrate judge’s report

 and recommendation, after being advised to do so, waives her right to appeal pursuant

 to the doctrine enunciated in United States v. Walters, 638 F.2d 947, 949-50 (6th Cir.

 1981).” (Id. at 3). In the court’s view, Rodriguez-Iznaga had waived appellate review of

 her claims, “and there [were] no circumstances warranting an exception to the Walters

 rule in the interests of justice.” (Id.). On July 5, 2019, Rodriguez-Iznaga petitioned the

 Sixth Circuit for rehearing and attached an affidavit stating that she had never received




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 the Magistrate Judge’s Report and Recommendation. Rodriguez-Iznaga, No. 19-5053,

 ECF No. 19. The petition was denied. Id. at ECF Nos. # 20 and 21.

       Unable to succeed at the court of appeals, Rodriguez-Iznaga came back to this

 Court, filing a “Motion for Rule 60(b) Relief” on December 2, 2019. (Doc. # 226). In her

 Motion, Defendant reasserts that she never received a copy of the Report and

 Recommendation and details her attempts to investigate the cause.          (Id. at 6-10).

 Attached to her Motion is a copy of a complaint form she submitted to prison officials at

 FCI Coleman in October 2019, in which she asks whether there are records of the Report

 and Recommendation ever arriving at the prison. (Doc. # 226-5). The form purportedly

 shows a response from a prison official confirming that a copy of the Report and

 Recommendation was never received. (Id.).

         The Magistrate Judge issued a second Report and Recommendation (“R&R”), in

 which she recommended denying Defendant’s Rule 60(b) Motion. (Doc. # 227). The

 Magistrate Judge construed the Motion as one brought under Federal Rule of Civil

 Procedure 60(b)(1), which provides relief from judgment for “mistake, inadvertence,

 surprise, or excusable neglect.” (Id. at 4). Such relief is not appropriate here, the

 Magistrate Judge concluded, because the Motion was not brought “within a reasonable

 time” as required under Rule 60(c)(1). (Id.). Rodriguez-Iznaga had waited over eleven

 months after the denial of her § 2255 motion to file her Rule 60(b) Motion. Moreover,

 Defendant’s Motion came over ten months after discovering that she had not received a

 copy of the Report and Recommendation. Therefore, according to the Magistrate Judge,

 even assuming Rodriguez-Iznaga was diligent in learning that she had failed to receive a




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 copy of the Report and Recommendation, she was not diligent in pursuing relief. (Id. at

 5).

        Defendant objected to the R&R (Doc. # 230), to which the Government responded

 (Doc. # 234). Defendant filed a Reply (Doc. # 238).

        In her Objections, Rodriguez-Iznaga resists the Magistrate Judge’s conclusion that

 she was not diligent, explaining that she did not have access to her docket sheet until she

 received it from the district court on October 2, 2019. (Doc. # 230 at 3-4). However, it is

 not apparent why Defendant would have needed her docket sheet in order to file her Rule

 60(b) Motion. In fact, Defendant’s brief to the Sixth Circuit filed on May 3, 2019—before

 she received her docket sheet—makes substantially the same arguments as her Rule

 60(b) Motion filed seven months later on December 2, 2019. Rodriguez-Iznaga, No. 19-

 5053, ECF No. 15. Moreover, the record reflects that Rodriguez-Iznaga became aware

 that she had not received the Report and Recommendation as early as January 9, 2019,

 the date that she appealed the Court’s Order adopting the Report and Recommendation.

 Accordingly, Defendant could have notified the Court at that time of the mistake and

 moved for relief under Rule 60(b). Instead, she waited almost eleven months to do so.

        The requirement that a Rule 60(b) motion be made “within a reasonable time,” Fed.

 R. Civ. P. 60(c)(1), is a “fact-specific determination” involving an evaluation of the

 movant’s “diligence in seeking relief.” Miller v. Mays, 879 F.3d 691, 699 (6th Cir. 2018).

 Under the facts of this case, the Magistrate Judge did not err in concluding that Rodriguez-

 Iznaga was not diligent by waiting almost eleven months to seek relief. Delays of similar

 length have been found excessive for purposes of Rule 60(b). See Gonzalez v. Crosby,

 545 U.S. 524, 536-37 (2005) (eight months); United States v. Mortg. Lenders Network



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 USA, 234 F.3d 1270, 2000 WL 1529815, at *2 (6th Cir. 2000) (unpublished table decision)

 (eleven months).      The Magistrate Judge therefore correctly recommended that

 Defendant’s Rule 60(b) Motion be denied.

        Accordingly, IT IS ORDERED as follows:

        (1)    The Report and Recommendation of the United States Magistrate Judge

 (Doc. # 227) is ADOPTED as the findings of fact and conclusions of law of the Court;

        (2)    Defendant Rodriguez-Iznaga’s Objections (Doc. # 230) are OVERRULED;

        (3)    Defendant’s Motion for Rule 60(b) Relief (Doc. # 226) is DENIED.

        This 14th day of January, 2021.




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